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 5 Fax: 415-984-8300
 6 Attorneys for Defendant
   SIMS GROUP USA CORPORATION
 7
 8                        UNITED STATES DISTRICT COURT
 9                     NORTHERN DISTRICT OF CALIFORNIA
10
11 SERGIO BERNAL-RODRIGUEZ,                          Case No. 3:20-cv-02121-TSH
12 individually  and on behalf of all others
   similarly situated,                               DEFENDANT SIMS GROUP USA
13                                                   CORPORATION’S CERTIFICATE
                 Plaintiff,                          OF INTERESTED PARTIES
14         vs.
15 SIMS GROUP USA CORPORATION,
16
            Defendant.
17                                                   Complaint Filed: March 27, 2020
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                        DEFENDANT’S CERTIFICATE OF INTERESTED PARTIES
        Case 4:20-cv-02121-JST Document 8 Filed 06/01/20 Page 2 of 4




 1 TO THE CLERK OF THE ABOVE-ENTITLED COURT AND TO
 2 PLAINTIFF SERGIO BERNAL-RODRIGUEZ AND HIS ATTORNEYS OF
 3 RECORD:
 4     Pursuant to Civil Local Rule 3-15, the undersigned certifies that the following
 5 listed persons, associations of persons, firms, partnerships, corporations (including
 6 parent corporations) or other entities (i) have a financial interest in the subject
 7 matter in controversy or in a party to the proceeding, or (ii) have a non-financial
 8 interest in that subject matter or in a party that could be substantially affected by the
 9 outcome of this proceeding:
10         1.     Defendant Sims Group USA Corporation, and
11         2.     Plaintiff Sergio Bernal-Rodriguez
12
13 Dated: June 1, 2020                              NIXON PEABODY LLP
14
15                                                  By: __________________________
                                                    Bonnie Glatzer
16
                                                    Jade Butman
17                                                  Attorneys for Defendant
                                                    SIMS GROUP USA CORPORATION
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                         DEFENDANT’S CERTIFICATE OF INTERESTED PARTIES
        Case 4:20-cv-02121-JST Document 8 Filed 06/01/20 Page 3 of 4




 1                           CERTIFICATE OF SERVICE
 2 CASE NAME: Bernal-Rodriguez v. Sims Group USA Corporation
 3 COURT:               United States District Court Northern District of CA
   CASE NO.:            3:20-cv-02121-TSH
 4 NP FILE:             416702-000068
 5        I, the undersigned, certify that I am employed in the City and County of San
   Francisco,   California; that I am over the age of eighteen years and not a party to the
 6 within action;  and that my business address is One Embarcadero Center, 32nd Floor,
 7 San  Francisco,  California 94111. On this date, I served the following document(s):

 8   DEFENDANT SIMS GROUP USA CORPORATION’S CERTIFICATE OF
     INTERESTED PARTIES
 9 on the parties stated below, through their attorneys of record, by placing true copies
10 thereof
   service:
            in sealed envelopes addressed as shown below by the following means of

11
     XX Electronically through the CM/ECF system, which caused the following
12 parties or counsel to be served by electronic means, as more fully reflected on the
13 Notice of Electronic Filing:
14 Attorneys for Plaintiff and the Class:      Trial Counsel for Plaintiff and
15                                             Proposed Class and Collective
   JAMES HAWKINS APLC                          Members
16
   James R. Hawkins
17 Gregory Mauro                               Kevin J. Stoops
   Michael Calvo                               Charles R. Ash, IV
18
   9880 Research Drive, Suite 800              SOMMERS SCHWARTZ, P.C.
19 Irvine, CA 92618                            One Towne Square, Suite 1700
   Tel: (949) 387-7200                         Southfield, Michigan 48076
20 Fax: (949) 387-6676
                                               Tel: (248) 355-0300
21 Email: James@jameshawkinsaplc.com           Email: kstoops@sommerspc.com
   Email: Greg@jameshawkinsaplc.com            Email: crash@sommerspc.com
22 Email: Michael@jameshawkinsaplc.com
23
                                               Trenton R. Kashima
24
                                               SOMMERS SCHWARTZ, P.C.
25                                             402 West Broadway, Suite 1760
26                                             San Diego, CA 92101
                                               Tel: (619) 762-2125
27                                             Email: tkashima@sommerspc.com
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               Case 4:20-cv-02121-JST Document 8 Filed 06/01/20 Page 4 of 4




  1          I declare under penalty of perjury that the foregoing is true and correct.
        Executed on June 1, 2020, at San Francisco, California.
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                                                     __________________________
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                                                          Patricia Ortega
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